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                              Exhibit B
    Email to Chinmay Deore regarding SEVIS
                  termination
4/10/25, 10:16Case
              AM   2:25-cv-11038-SJM-DRG Yahoo
                                           ECF MailNo.  1-3, PageID.39
                                                    - URGENT-Your SEVIS recordFiled  04/10/25
                                                                              has been terminated   Page 2 of 2


     URGENT Your SEVIS record has been terminated

     From: Chamundeswari Gowrishankar (                             )

     To:
     Cc:

     Date: Friday, April 4, 2025 at 10:08 AM EDT




     Hello Chinmay,


     Our record shows that your SEVIS has been terminated this morning- TERMINATION
     REASON: OTHERWISE FAILING TO MAINTAIN STATUS - Individual identified in criminal
     records check and/or has had their VISA revoked. SEVIS record has been terminated.


     Please contact me immediately so we can discuss your options.




     Thanks,
     Chamu Gowrishankar
     Assistant Director
     Office of International Students & Scholars
     Wayne State University
     42 W. Warren, Welcome Center, Suite 416
     Detroit, MI 48202
     Phone:
     Fax: (313) 577-2962
     E-mail:
     https://oip.wayne.edu/oiss




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